
USCA1 Opinion

	







                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT




                                 ____________________

          No. 95-2307

                                 BETTY RUTH SHAPIRO,

                                Plaintiff - Appellant,

                                          v.

                      RELIANCE STANDARD LIFE INSURANCE COMPANY,

                                Defendant - Appellee.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                 [Hon. Francis J. Boyle, Senior U.S. District Judge]
                                         __________________________

                                 ____________________

                                        Before

                                 Cyr, Circuit Judge,
                                      _____________

                            Aldrich, Senior Circuit Judge,
                                     ____________________

                            and Gertner,* District Judge.
                                          ______________

                                _____________________

               Thomas F. Ginnerty for appellant.
               __________________
               Robert M. Duffy, with whom Sloan, Duffy, Sweeney &amp; Gates was
               _______________            _____________________________
          on brief for appellee.



                                 ____________________

                                    August 1, 1996

                                 ____________________


                              
          ____________________

          *  Of the District of Massachusetts, sitting by designation.














                    GERTNER, District  Judge.  Plaintiff Betty Ruth Shapiro
                    GERTNER, District  Judge.
                             _______________

          (Shapiro)  brought  this  action under  the  Employee  Retirement

          Income  Security Act of 1974  (ERISA), 29 U.S.C.   1132(a)(1)(B),

          claiming  that she was  wrongfully denied benefits  under a long-

          term disability  insurance policy  provided by  her employer  and

          issued  by the defendant Reliance Standard Life Insurance Company

          (Reliance).  After  a non-jury trial, the district  court entered

          judgment in  favor of defendant.   On appeal,  plaintiff contends

          that the  district court's findings were clearly  erroneous.  She

          also contends  that she was  denied due  process of law  when the

          district  court  issued  its decision  without  offering  her the

          opportunity  to present  additional evidence  or  make a  closing

          argument.  We affirm.         FACTS
                                        FACTS
                                        _____

                    The  facts  as  found by  the  district  court  were as

          follows: On October 13, 1991, plaintiff was involved in a serious

          motor  vehicle  accident.   She  was  treated  at the  scene  and

          returned  home.   Three  days  later,  however,  she went  to  an

          emergency room complaining of neck,  shoulder and arm pains.  She

          began seeing an  orthopaedic surgeon, Dr. Kenneth  Morrissey, and

          remained  in his  care  until May  12,  1992.   In  May of  1992,

          plaintiff   applied   for   reemployment   with   her   employer,

          Fleet/Norstar Financial Group, Inc. (Fleet),1 after Dr. Morrissey

          advised  her to  "give it a  try."   She was not  hired, however,

          because there were no positions available.  In  April  of   1992,

                              
          ____________________

          1  Although it is not clear from the record, plaintiff apparently
          ceased working sometime after her accident.

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          Shapiro  filed  for  disability  benefits  with  Reliance,  which

          provided  group   long-term  disability   insurance  to   Fleet's

          employees.   In  response,  Reliance sent  letters  to  three  of

          Shapiro's treating  physicians in  order to  evaluate her  claim.

          The  doctors did  not respond until  July of  1992.  Two  of them

          stated  that  they  were  treating  plaintiff  for  non-disabling

          maladies unrelated  to  her disability  claim.   The  third,  Dr.

          Morrissey, found  the plaintiff to  be "totally disabled"  for an

          "indefinite  period,"2  but  that conclusion  was  belied  by his

          office records.  The records indicated the Dr. Morrissey believed

          the  plaintiff to  be only  partially disabled,  and that  he had

          advised  plaintiff  on  May  12,  1992,  the  last  date  of  his

          treatment,  that  she  could  try  to return  to  her  job  as  a

          securities input clerk. 

                    In  August  of 1992,  defendant  retroactively approved

          plaintiff's application  for benefits  for the  period April  10,

          1992  through  July 10,  1992.    Defendant then  requested  that

          plaintiff provide additional information substantiating her claim

          for  benefits  beyond  July  10,  1992.    It  sent  plaintiff  a

          "Supplementary Report  for Continued Disability  Benefits" and  a

          "Physical Capacities  Evaluation Form"  to be  filled out by  her

          treating  physician.  In  November, 1992, plaintiff  returned the

          Supplementary Report,  but the  portion to  be  completed by  her

          physician was left blank.  Instead,  plaintiff submitted a record

                              
          ____________________

          2   Dr. Morrissey had  reported this conclusion on  an "Attending
          Physician's Statement of Disability" dated April 7, 1992.

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          from a Dr. Tarpey, indicating  that he was treating plaintiff for

          asthma and  emphysema.   Plaintiff never  submitted the  Physical

          Capacities Evaluation Form.

                    Defendant  next sent  letters  directly to  plaintiff's

          physicians seeking  information as to whether she continued to be

          disabled.  Defendant received no  responses to these letters.  In

          February of 1993,  plaintiff advised defendant by  telephone that

          she was seeing a chiropractor, Dr. Andrew Lombardi.   In March of

          1993, defendant sent a letter to Dr. Lombardi seeking information

          about his  treatment and  plaintiff's disability.   Dr.  Lombardi

          wrote  back  in   April  of  1993  providing   information  about

          plaintiff's condition, but did not indicate whether plaintiff was

          disabled,  or whether she  had been continuously  disabled during

          the period  between May of  1992, when she ceased  treatment with

          Dr.  Morrissey,  and April  of 1993.3   Moreover,  Dr. Lombardi's

          letter   stated   that   plaintiff  had   "denie[d]   any   prior

          accidents/incidents  that   could  have   produced  the   current

          symptoms.   In  fact, as  plaintiff  admitted at  trial, she  had

          earlier taken a nine month disability leave for an unrelated neck

          and back injury in 1989.





                              
          ____________________

          3  This  was significant because, under the  terms of defendant's
          policy,  plaintiff's  benefits  would terminate  as  soon  as she
          ceased to  be totally disabled.  Since  she was no longer working
          for Fleet in 1993,  she needed to show that  she was continuously
          disabled from  the time  when she  was so  employed  in order  to
          continue to receive benefits.

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                    On April 30, 1993,  defendant denied plaintiff's  claim

          for additional benefits.   Plaintiff appealed through defendant's

          internal appeal process, and her claim was again denied.
















































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                                      DISCUSSION
                                      DISCUSSION
                                      __________

          I.  The District Court's Findings
          I.  The District Court's Findings
              _____________________________

                    Under the  terms of  defendant's policy,  plaintiff was

          eligible for disability benefits only  if she met four  criteria:

          (1) that she  was totally disabled as  a result of a  sickness or

          injury covered by the policy, (2) that she was under the  regular

          care   of  a  physician,  (3)  that  she  completed  a  so-called

          "Elimination  Period," and  (4) that  she  submitted satisfactory

          proof of her total  disability.  Engaging in a de  novo review of
                                                         __  ____

          plaintiff's claim,  see Firestone Tire  and Rubber Co.  v. Bruch,
                              ___ ______________________________     _____

          489 U.S. 101, 115 (1989), the district court found that plaintiff

          did  not   satisfy  the   first,  second   or  fourth  of   these

          requirements, and therefore was ineligible for benefits.  We will

          vacate  these  findings  only  if  they  are  clearly  erroneous.

          Cumpiano v. Banco  Santander Puerto Rico, 902 F.2d  148, 152 (1st
          ________    ____________________________

          Cir. 1990).  None of them is.

                    First,  the district  court  found  that plaintiff  had

          failed to submit  satisfactory proof of  her total disability  to

          defendant.  This finding is  not clearly erroneous.  Although Dr.

          Morrissey  did aver  that, as  of  April 7,  1992, plaintiff  was

          totally disabled, one month later, on May 12, 1992, Dr. Morrissey

          advised plaintiff that she could try to return to  work.  Indeed,

          plaintiff  did attempt  to return to  work at that  time, and was

          only  refused  because  of the  lack  of  an available  position.

          Defendant, aware  that Dr.  Morrissey had  advised plaintiff  she

          could try  to return to  work, reasonably questioned  whether she


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          remained  totally disabled, and  engaged in numerous  attempts to

          obtain  additional proof  to  support her  claim.   Despite these

          attempts,   plaintiff  never   produced  any   evidence  of   her

          disability.  The district court's  finding to that effect was not

          clearly erroneous.

                    The  district court also  found that plaintiff  was not

          under the regular care of a physician.  No evidence was presented

          that plaintiff  was regularly  seeing any  medical provider  from

          May 12, 1992, when she ceased treatment with Dr. Morrissey, until

          February 22, 1993, when she  started treatment with Dr. Lombardi.

          There was  also evidence that  plaintiff had ceased  all physical

          therapy during this  period.  The  district court's finding  that

          plaintiff  was not  under the  treatment of  a physician  was not

          clearly in error.  

                    Finally, the  district court  found that plaintiff  was

          not,  in fact,  totally  disabled  during  the  relevant  period.

          Although  Dr. Lombardi  testified  at   trial  that  he  believed

          plaintiff  to be  totally disabled, and  that her  disability had

          been in place during the  relevant period, the district court did

          not credit this  testimony as it was inconsistent  with the other

          evidence,  including Dr. Morrissey's advice  on May 12, 1992 that

          if plaintiff wanted to return to work she should "give it a try."

          The district court also  found that Dr. Lombardi's testimony  was

          based on false statements provided to him by plaintiff, including

          a false statement that she had never been in any  other accidents

          which  could  have  caused  her  current  symptoms.    (In  fact,


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          plaintiff  had  missed  work  for   nine  months  in  1989  after

          complaining  of neck and  back problems.)   Dr. Lombardi likewise

          ignored the fact that plaintiff had reapplied for work just after

          her initial application  for disability benefits had  been filed.

          In light  of the  conflicting evidence,  the  district court  was

          entitled to reach the conclusion that it did.

          II.  Due Process Claim
          II.  Due Process Claim
               _________________

                    The trial was held on  December 19, 1994.  The district

          court  heard three live witnesses:  the plaintiff, one of her co-

          workers, and  an employee of the defendant.   At the close of the

          day,   the  district  court   directed  the  parties   to  depose

          plaintiff's two remaining witnesses, Drs. Morrissey and Lombardi,

          and to  file edited transcripts with the court.   This was done a

          few weeks  later.  Approximately  one year later, on  November 2,

          1995, the district court issued its decision.

                    Plaintiff now  contends that the district  court denied

          her  due  process  of  law   because  it  failed  to  provide  an

          opportunity  for closing  argument,  or  for  the  submission  of

          additional  evidence, prior to  issuing its decision.   Plaintiff

          states that  if given the  opportunity, she would  have presented

          evidence that an  Administrative Law Judge of the Social Security

          Administration had found  her to be totally disabled  in April of

          1995.   Putting aside the  question of whether this  decision was

          relevant  or  otherwise  admissible,  plaintiff  waived  her  due

          process  claim  by  failing  to  raise it  to  the  court  below.

          Poliquin v. Garden  Way, Inc., 989 F.2d 527, 531 (1st Cir. 1993).
          ________    _________________


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          Plaintiff never requested the  opportunity to present  additional

          evidence  or to  make a  closing  argument in  the eleven  months

          between the trial date and  the issuance of the court's decision.

          Moreover,  plaintiff never moved  to alter or  amend the judgment

          under Fed. R. Civ. P. 59.  

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    For the foregoing reasons, the judgment of the district

          court is affirmed.  Costs to appellees.
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